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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 George E. Norcross, III, Gregory B.      :
 Braca, and Philip A. Norcross,           :
                    Plaintiffs,           :
                                          :   CIVIL ACTION
             vs.                          :   NO. 22-cv-04953 (BMS)
                                          :
 Republic First Bancorp, Inc., Harry      :
 Madonna, Andrew B. Cohen, Lisa
 Jacobs, Harris Wildstein, Peter B.       :
 Bartholow, and Benjamin C. Duster,       :
 IV,                                      :
                                          :
                    Defendants.           :
                                          :
                                          :
                                          :
                         CERTIFICATE OF SERVICE
        I hereby certify that on December 19, 2022, I caused a true and correct copy

of the foregoing Motion for Preliminary Injunction, Memorandum of Law in

Support, Proposed Orders, Declaration of Laura E. Krabill, and all attached exhibits

to be served upon all counsel of record via the Court’s CM/ECF filing system.


                                              /s/ Shawn F. Summers
                                              Shawn F. Summers, Esq.
